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                     United States Court of Appeals
                                  For the First Circuit
      Nos. 19-1553
           19-1952
                                        UNITED STATES

                                             Appellee

                                                 v.

                                      CAMERON LACROIX

                                       Defendant - Appellant


                                           MANDATE

                                       Entered: June 24, 2021

             In accordance with the judgment of June 3, 2021, and pursuant to Federal Rule of
      Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                               By the Court:

                                               Maria R. Hamilton, Clerk


      cc:
      Cameron Lacroix
      Donald Campbell Lockhart
      Anthony Douglas Martin
      Mackenzie Queenin
      Mona Sedky
